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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHER DISTRICT OF OHIO
                                 EASTERN DIVISION

    IN RE NATIONAL PRESCRIPTION                   MDL No. 2804
    OPIATE LITIGATION                             Case No. 17-md-2804
                                                  Judge Dan Aaron Polster
    This document relates to:

    Track Three Cases



                 REPLY MEMORANDUM IN FURTHER SUPPORT OF
                    CERTAIN DEFENDANTS’ DAUBERT MOTION
             TO EXCLUDE THE OPINIONS OFFERED BY JAMES RAFALSKI

         Certain Defendants1 moved to exclude Rafalski’s opinions in CT3 on three grounds:

(1) his CT3 Report blatantly disregarded this Court’s CT1 Order on the permissible limits of his

opinions; (2) his opinions as to Moving Defendants’ SOM systems were not actually based on

his professional experience as a DEA Diversion Investigator, but instead used unreliable

methods custom-made for this litigation; and (3) his cursory causation opinions did not use

reliable methods to analyze whether Moving Defendants’ opioids were substantially involved in

the opioids crisis in Lake and Trumbull Counties. Plaintiffs in Opposition failed to meet their

burden on any of these issues, or to otherwise show how Rafalski’s opinions as to Moving

Defendants could be admissible under binding Sixth Circuit case law. The Court therefore

should exclude Rafalski’s opinions as to Moving Defendants.




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 Rite Aid Hdqtrs. Corp., Rite Aid of Ohio, Inc., Rite Aid of Maryland, Inc., d/b/a Rite Aid Mid-
Atlantic Customer Support Center and Eckerd Corp. d/b/a Rite Aid Liverpool Distribution
Center have been severed from this action. Moving Defendants are now Walmart Inc. and Giant
Eagle, Inc. and HBC Service Company.
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I.     ARGUMENT

       A.      Rafalski blatantly disregarded the Court’s prior Order

       The Court could not have been clearer in CT1: “[T]o the extent Rafalski expresses

opinions as to what the law requires, or whether the Defendants’ conduct violated the law, his

opinions are not admissible.” Doc. 2494 (the “CT1 Order”) at *8. Rafalski’s CT3 Report

repeatedly and blatantly violated this holding, and the Court should reaffirm its CT1 holding by

excluding all such opinions.

       CT3 Plaintiffs do not seek reconsideration of the Court’s CT1 Order, but instead

inexplicably argue that Rafalski has not violated it. Opp. at 9. A few brief examples suffice to

show otherwise.

        Rafalski explicitly reported, “I am prepared to testify regarding the regulatory duties

imposed by the CSA and federal regulations.” Rep. at 7 (attached as Exhibit 1). He further

explicitly reported, “I have been asked to review the documents produced by the defendants and

depositions taken in MDL2804 . . . and offer opinions regarding statutory and regulatory

compliance.” Id. Rafalski then opined that:

       The Controlled Substance Act (CSA) is designed to provide for a closed delivery
       system related to the pharmaceutical supply chain. The CSA requires DEA
       registration for each member of the closed supply chain, known as a registrant. . .
       . As a member of the closed delivery system each registrant takes on certain
       statutory and regulatory obligations to ensure the safety and efficiency of the
       pharmaceutical supply chain. . . . Under the CSA and the implementing
       regulations the distributors have two significant obligations that are designed to
       ensure that these controlled substances do not veer outside of the closed supply
       chain. These statutory and regulatory obligations come from:

               o 21 U.S.C.A. § 823(b)(1); which requires the “maintenance of
               effective controls against diversion of particular controlled
               substances into other than legitimate medical, scientific, and
               industrial channels.”

               o 21 C.F.R. § 1301.74(b); which require the registrant to “design
               and operate a system to disclose to the registrant suspicious orders

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               of controlled substances.” Then the registrant is required to notify
               the DEA of all identified suspicious orders prior to shipment.

Rep. at 8. These reported opinions have the same form and substance as proposed jury

instructions, they are statements of the law within the Court’s domain, and they are clearly

inadmissible as expert opinions under the CT1 Order.

       Rafalski then began a section he explicitly titled “Statutory Duty”:

               Each distributor/pharmacy owes a duty to maintain effective control
       against diversion of prescription opiates into the illicit market. 21 U.S.C.A. §
       823(b)(1) [1970].

                The Controlled Substances Act (“CSA”) and its implementing regulations
       create restrictions on the distribution of controlled substances. See 21 U.S.C. §§
       801–971 (2006); 21 C.F.R. §§ 1300–1321 (2009). The main objectives of the
       CSA are to conquer drug abuse and to control the legitimate and illegitimate
       traffic in controlled substances. Congress was particularly concerned with the
       need to prevent the diversion of drugs from legitimate to illicit channels. To
       effectuate these goals, Congress devised a closed regulatory system making it
       unlawful to manufacture, distribute, dispense, or possess any controlled substance
       except in a manner authorized by the CSA. The CSA categorizes all controlled
       substances into five schedules. The drugs are grouped together based on their
       accepted medical uses, the potential for abuse, and their psychological and
       physical effects on the body. Each schedule is associated with a distinct set of
       controls regarding the manufacture, distribution, and use of the substances listed
       therein. . . .

Id. at 9. This passage reads like a legal brief that merely expresses the opinions of a non-lawyer

as to what the law requires. It is not an admissible expert opinion. The Court already has made

clear that such opinions are not admissible.

       Rafalski then concluded this “Statutory Duty” section with his ultimate opinion that:

       Based on my review of all the relevant documents and testimony taken in this
       case (MDL 2804) it is my opinion to a reasonable degree of professional certainty
       that the multiple distributors servicing Lake County and Trumbull County failed
       to maintain effective control against diversion of prescription opiates into other
       than legitimate medical, scientific, and industrial channels in violation of 21
       U.S.C.A. § 823(b)(1).”




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Id. at 10-11 (emphasis added). Again, this is an expression of Rafalski’s opinion as to

“whether the Defendants’ conduct violated the law,” and therefore his CT3 Report is in

direct violation of the Court’s CT1 Order.

       The next section of Rafalski’s CT3 Report, explicitly titled “Regulatory Duty,” likewise

is simply Rafalski’s legal brief on what he believes that the DEA’s security regulations require.

Rep. at 11. Rafalski continued on with this sort of legal discussion, reviewing various legal

authorities, including cases, DEA administrative actions, DEA guidance letters, DEA manuals,

Healthcare Distribution Alliance policies, and so on, through Page 40 of his Report. See Rep. at

2 (Table of Contents). Adding to his pronouncements on the law, Rafalski’s section titled

“Maintenance Of Effective Controls Against Diversion Of Controlled Substances,” included his

opinion on which measures registrants “must implement . . . to comply with legal and regulatory

standards.” Rep. at 40. Again, these are all inadmissible expressions of Rafalski’s opinions on

what the applicable law and regulations require. For his finale, Rafalski conceded that he

described in “[his] report . . . the defendants’ inadequate response to their statutory and

regulatory requirements . . . .” Rep. at 45. Again, Rafalski reported an opinion that Moving

Defendant’s conduct violated their statutory and regulatory requirements, as previously briefed

by Rafalski, all in blatant disregard of the Court’s CT1 Order.

       The Court’s unchallenged CT1 holding is that it is solely the Court’s job to determine

Moving Defendants’ statutory and regulatory requirements, while the jury must determine

whether or not Moving Defendants’ conduct violated those requirements. Rafalski overstepped

those boundaries in his CT3 Report and the Court should again hold that all such opinions are

inadmissible.




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       B.      Because Rafalski does not use the methods he used professionally, his
               testimony is unreliable.

       The admissibility of the opinions of an expert with a professional background depends on

whether the expert actually uses the methods he previously used professionally. See Johnson v.

Manitowoc Boom Trucks, Inc., 484 F.3d 426, 434-35 (6th Cir. 2007). In cases where the expert

does use his prior methods, it may be appropriate for the trial judge to apply the Daubert factors

in a “somewhat more lenient fashion.” Id. at 435. But where, as here, the expert uses new

methods created specifically for the litigation, “the party proffering the expert must show some

objective proof . . . supporting the reliability of the expert’s testimony.” Id (emphasis added).

       The Sixth Circuit’s Johnson rule is easy to apply: if Plaintiffs are going to qualify an

expert based on his professional experience and then ask a factfinder to rely on his opinions as

evidence, his opinions must actually make use of his professional experience. If that expert

instead adopts new methods for the purposes of litigation, Plaintiffs must go further and provide

objective proof of the reliability of these new methods; merely citing the expert’s professional

experience is no longer sufficient to meet their burden on admissibility. Plaintiffs have not, and

cannot, make such a showing as to Rafalski’s made-for-litigation methods for analyzing Moving

Defendants’ SOM systems.

       Unable to make this showing, Plaintiffs argue Rafalski was not required to follow “the

exact steps he would have taken as a DEA Diversion Investigator,” that he asserts that he was

drawing on his experience as a DEA Diversion Investigator when following Plaintiffs’ new

preferred method of merely reviewing selected documents and depositions (which conveniently

always results in a pro-plaintiff opinion against every defendant), and therefore that the Court

should follow the more lenient prong of the Johnson standard. See Opp. at 10-11. But as

Moving Defendants already detailed, Rafalski’s methods were counsel-driven, developed


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specifically for this litigation, and do not even remotely resemble the reliable methods he was

trained to use as a DEA Diversion Investigator.

       For example, Plaintiffs have no answer as to why Rafalski failed to physically inspect

Moving Defendants’ facilities, as he had a right to do under the Federal Rules, and as Moving

Defendants’ own expert did. Plaintiffs’ counsel simply assert on his behalf that he did not have

to, but Rafalski himself admitted in his deposition that doing so was “important.” Tr. 454-55,

461-62. Apparently, Plaintiffs’ counsel never informed Rafalski that it was an option. Tr. 440.

Plaintiffs’ counsel cannot keep Rafalski in the dark about the means of investigation available to

him, and then assert that Rafalski did not need them—especially when Rafalski himself testified

those methods were important.

       Plaintiffs also try to redeem Rafalski’s failure to review Moving Defendants’ inspection

reports by arguing that even if he had reviewed the reports, there might have been some reported

shortcomings. Opp. at 13. But Plaintiffs’ counsel are not the experts, and they are not permitted

to do the required expert work for Rafalski and speculate about what he would have concluded if

he had actually reviewed those reports. Reviewing prior inspection reports was a required first

step for all DEA Diversion Investigators and, as such, Plaintiffs cannot absolve Rafalski of his

responsibility to follow those methods while at the same time arguing he is entitled to a lenient

admissibility standard as an expert purportedly relying on his professional experience.2



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  Plaintiffs also quote Rafalski as testifying he would not place “a high value” on reviewing prior
inspections. Opp. at 13. Rafalski did not testify he would place no value on reviewing prior
inspections, and in fact in the same answer he also stated, “I wouldn’t say it wasn’t important.”
Tr. at 455. It defies basic plausibility that a neutral expert would not at least review and discuss
Moving Defendants’ DEA and BOP inspection reports when analyzing their compliance with the
applicable regulations. And in fact, when confronted in his deposition with material from
Moving Defendants’ reports that appeared to contradict his opinions, he explicitly stated, “I
would like to read the report.” Tr. at 459. Rafalski therefore acknowledged the importance of
such a review, he simply did not do it when preparing his opinions as to Moving Defendants.
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        In a mere footnote, Plaintiffs try to defend Rafalski’s complete failure to include Moving

Defendants’ pharmacies within the scope of his investigation on the same ground that Rafalski

offered in his testimony: that Plaintiffs never asked Rafalski to do so. See Opp. at 14 n.2. Again,

that is no excuse for Rafalski failing to perform the sort of investigation of Moving Defendants’

pharmacies that he admitted he would have performed as a DEA Diversion Investigator. Instead,

it merely underscores that it was Plaintiffs’ counsel, and not their hired expert, who determined

what methods Rafalski would use—and what methods he would ignore—to further Plaintiffs’

interests in this litigation.

        In fact, Rafalski testified that as a DEA Diversion Inspector, he specifically relied on

objective pharmacy-level metrics like cash payment percentages, total prescription dispensing

volume, and the ratio of controls to non-controls. Tr. 123-24. Such metrics allow the DEA to

more reliably identify which specific opioids are more or less likely to be diverted. But

Rafalski’s only excuse for not using these metrics when investigating Moving Defendants, who

again only supplied opioids to Lake and Trumbull Counties through their own pharmacies, was

that nobody asked him to consider these metrics in this case. Tr. at 124.3

        These and other facts confirm that the Court must apply the second, more exacting, prong

of Johnson. Rafalski’s methods as applied to Moving Defendants were made for litigation, and

indeed governed by instructions from Plaintiffs’ counsel. Plaintiffs therefore had the burden of



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  Which is likely because as applied to Moving Defendants, those metrics would have given
Plaintiffs answers that they did not want—namely, that given these metrics, it is highly unlikely
that diversion from Moving Defendants’ pharmacies was a significant source of opioids in the
illicit markets of Lake and Trumbull Counties. Although Plaintiffs rightly argue that an expert’s
testimony is not inadmissible merely because of the conclusions the expert reaches, Plaintiffs
cannot then use that principle as a loophole to instruct their hired expert to simply ignore
evidence that he would ordinarily consider important, but that would be contradictory to
Plaintiffs’ desired conclusions. Daubert does not permit this kind of willful blindness by an
expert.
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providing objective proof of the reliability of those methods. Because they did not provide such

proof, his opinions are inadmissible under Sixth Circuit case law.

        Even if they had tried, Plaintiffs could not meet the Johnson burden because Rafalski’s

made-for-litigation methods are objectively unreliable. It is part of the DEA’s core mission to

devise reliable methods for detecting and investigating possible violations of their regulations

regarding the security of scheduled drugs. The DEA accordingly trains its Diversion

Investigators to do important things like physically inspect facilities, carefully review prior

inspection reports, tailor their methods to the nature of the business entity involved (including

investigating the pharmacies of self-distributors using standard metrics), and consider the entity’s

security measures holistically, precisely because there is no one approach to a SOM system that

is required by DEA regulations for all types of entities. As the DEA itself recognizes, different

entities can achieve substantial compliance with the DEA’s security regulations in different

ways. Thus, a reliable method for evaluating the compliance measures of any one entity must be

carefully individualized to that entity.

        Instead, at the direction of Plaintiffs’ counsel, Rafalski devised a one-size-fits-all method

that he applied to all of the defendants, stripping out any of the individualized methods that he

would have used as a DEA Diversion Investigator. That is not a reliable approach; it is not based

on Rafalski’s professional experience; and it only has the “virtue” of always—with respect to

every single defendant Rafalski has examined across all the related cases—giving Plaintiffs the

opinion that they paid to get. Such made-for-litigation testimony, without an objective showing

of reliability, is not admissible in the Sixth Circuit.




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       C.      Rafalski’s causation opinions are inadmissible under binding Sixth Circuit
               precedent

       An expert cannot provide a causation opinion as to a particular defendant unless the

expert’s analysis covers a complete causal chain from the known actions of the defendant to the

alleged harm. See Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 253-54 (6th Cir. 2001). In

Nelson, the defendants had introduced certain chemicals into the relevant environment, and the

expert sought to provide the opinion that the defendants’ chemicals had caused plaintiffs’

relevant neurological and pulmonary abnormalities. Id. at 247, 252. The Sixth Circuit held that

these opinions were properly excluded because the expert did not evaluate whether plaintiffs

were actually exposed to defendants’ chemicals, if so the degree of that exposure, or finally

whether there were other confounding factors. Id. at 253-54.

       Rafalski did exactly what the rejected expert in Nelson sought to do. He purported to

have a reviewed seven methodologies by which Moving Defendants could have flagged some

orders from their pharmacies as possibly suspicious and worth further investigation. He did not

opine that DEA regulations required Moving Defendants to use these methodologies, and instead

admitted they could have used other monitoring methods that he did not evaluate. And as

applied to Moving Defendants, the methods he did consider gave wildly varying results,

including in some cases flagging no orders at all.

       Rafalski then leapt from this starting point to the Plaintiffs’ desired conclusion that

Moving Defendants’ opioids were “a substantial cause of the opioid epidemic plaguing the

country and specifically in Lake County and Trumbull County.” Rep. at 7. But Rafalski

admitted doing nothing to assess whether Moving Defendants’ opioids were actually diverted in

these counties, or in what quantities, or what role was played by confounding factors. Like the

expert in Nelson, his speculative causation opinions are not admissible.


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       Plaintiffs in part try to redeem Rafalski’s causation opinions by abandoning his other six

methodologies and stating he only intends to rely on the particular methodology used in Masters,

Methodology A. Opp. at 16. But again, Plaintiffs’ counsel cannot speak for the expert. And

Rafalski himself never reported the opinion that only Methodology A is reliable. In fact he

admitted in his deposition that a registrant did not have to use any of the seven methodologies,

and that using a manual system instead could comply with the SOM regulations. Tr. 319, 326-

27.

       Rafalski’s actual causal logic is that Moving Defendants failed to comply with the

requirements of the Controlled Substances Act (itself an inadmissible legal conclusion), and that

this failure then caused opiate pills to “flood[] the illicit market in CT3 jurisdictions.” Rep. at

57. But as applied to Moving Defendants, neither his methodologies collectively, nor

Methodology A alone (as Plaintiffs’ counsel now urge), show that Moving Defendants actually

failed to comply with the requirements of the Controlled Substances Act. So, Rafalski’s

proposed causal chain does not even get to the first step.

       Rafalski also completely fails to justify leaping to the final step. Plaintiffs suggest that

the Court should ignore the clear and binding holding of Nelson as applied to the admissibility of

expert testimony. But they do not cite any Sixth Circuit published opinions on expert

admissibility, instead notably relying on the Court’s prior decision on a summary judgment

issue. Opp. at 17-18.

       In Doc. 2561 (“CT1 Causation Order”),4 the Court held that assuming the factfinder

concluded the CT1 Defendants completely failed to maintain effective controls against diversion,




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 Moving Defendants preserve their objections to, and reserve the right to challenge, the CT1
Causation Order.
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the factfinder could reasonably infer these failures were a substantial cause of the alleged harm

suffered by Plaintiffs. See CT1 Causation Order at *9. Given the Rule 56 standard, the Court

held that summary judgment against the CT1 plaintiffs on this issue was inappropriate. Id.

(citing BCS Servs., Inc. v. Heartwood 88, LLC, 637 F.3d 750, 758 (7th Cir. 2011) (discussing

what evidence a plaintiff must present to withstand summary judgment on causation)).

       In light of that holding, Plaintiffs may make this sort of argument to the CT3 jury. But

Rafalski is not the factfinder. Under cases like Nelson, Plaintiffs cannot have a purported expert

make such an inference, with no actual reliable methodology to support that inference, and then

present that testimony to the jury as reliable and admissible expert opinion evidence. Plaintiffs

are intentionally conflating the ultimate conclusions that the factfinder can permissibly reach

with the sorts of expert analysis that a party can offer as opinion evidence. And testifying on

ultimate conclusions, rather than providing reliable expert analysis, is precisely what the Court

already held that Rafalski cannot do. CT1 Order at *8.

       Plaintiffs try to evade the Sixth Circuit’s clear holding in Nelson by citing to the dissent

in another Sixth Circuit case, Tamraz v. Lincoln Elec. Co., 620 F.3d 665 (6th Cir. 2010). See

Opp. at 4 (citing Tamraz, 620 F.3d at 682 (dissenting opinion)). And Plaintiffs are in fact

making the same sort of plea for leniency as the losing party in Tamraz, an argument that the

Tamraz court rejected.

       Tamraz involved a welder who suffered symptoms of parkinsonism, and who sued

manufacturers of welding supplies alleging manganese in their products caused his symptoms.

620 F.3d at 667. The Sixth Circuit held that the trial court erred in admitting the causation

opinion of a medical doctor who testified that defendants’ manganese products likely caused

plaintiff’s parkinsonism. See id. at 669-72. The Tamraz court observed that the expert’s opinion



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was a “plausible hypothesis.” Id. at 670. But because the expert did not then go on to reliably

test that hypothesis, and instead engaged in several “speculative jumps” in the causal chain,

including a failure to rule out alternative causes, the Sixth Circuit held the expert’s causation

opinions were inadmissible under Rule 702. Id. at 670-72. The Sixth Circuit went on to hold

that when plaintiffs rely on such a causation expert in obtaining a favorable liability verdict, the

admission of the opinion is reversible error justifying a new trial. Id. at 676-78.5

       The dissenting judge in Tamraz argued unsuccessfully that the trial court’s decision was

discretionary, and that any gaps in the causal reasoning should go to the weight and not the



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  The Sixth Circuit is by no means alone in this holding. See, e.g., Sardis v. Overhead Door
Corp., No. 20-1411 (4th Cir. Aug. 20, 2021) (opinion attached as Exhibit 2) (holding the trial
court erred by holding causation experts’ lack of testing of their theories went to weight and not
admissibility, and that the error was not harmless and required remand with a directed verdict in
defendants’ favor). The basic issues in Sardis were the same as here. The relevant causation
expert started with analysis of regulations he claimed the defendant had violated. See id. at *25-
29. The Fourth Circuit held that the district court should have made the legal determination of
what the regulations required, not leave it to the jury to make that decision, and that in fact there
were no such requirements in the regulations. Id. at *29-32. The Fourth Circuit then further held
the expert’s causation opinions were independently inadmissible because the expert did not
actually test his causal theories in application to the specific defendant’s products. Id. at *32-38.
The Fourth Circuit specifically rejected the argument that it was sufficient for causation purposes
to opine that the defendant violated a regulation, and then leap to the conclusion that the
violation caused the harm, without the expert using an objective, reliable method to test this
hypothesis. Id. at *37-38. Finally, the Fourth Circuit in Sardis also noted that the Advisory
Committee on Evidence Rules has recently observed that in “a number of federal cases . . .
judges did not apply the preponderance standard of admissibility to [Rule 702’s] requirements of
sufficiency of basis and reliable application of principles and methods, instead holding that such
issues were ones of weight for the jury,” and is currently proposing to amend Rule 702, with the
advisory committee’s notes to include the statement:
        [U]nfortunately many courts have held that the critical questions of the
        sufficiency of an expert’s basis [for his testimony], and the application of the
        expert’s methodology, are generally questions of weight and not admissibility.
        These rulings are an incorrect application of Rules 702 and 104(a) and are
        rejected by this amendment.
Id. at *20-21 (citing Advisory Comm. on Evidence Rules, Agenda for Committee
Meeting at *17, 105, 107 (Apr. 30, 2021) (excerpts included as attachment)). The Fourth
Circuit in Sardis, and the Advisory Committee itself, is warning against precisely the sort
of argument that Plaintiffs have relied on in their Opposition.
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admissibility of the evidence. See id. at 683-84. Plaintiffs make the same argument here. See

Opp. at 17-19. Again, though, they cite no actual Sixth Circuit authority to overcome the clear,

contrary holdings in Nelson and Tamraz.

       Instead, Plaintiffs hope that the Court will accept their argument that because a factfinder

will be resolving the disputed issue of which of the CT3 defendants (if any) actually caused the

alleged harms, see CT1 Causation Order at *9, an expert can propound untested hypotheses and

stack speculative inferences on that subject. See Opp. at 18 (citing CT1 Causation Order). They

are incorrect. It would directly contradict the Sixth Circuit’s binding precedents to admit

Rafalski’s testimony simply because it addresses an issue before the factfinder. See Tamraz, 620

F.3d at 667 (holding although causation testimony on the subject was generally permissible, the

expert “fell short of what Daubert requires and his specific testimony should be excluded”).

       The Court should not allow the Plaintiffs to wrap their desired ultimate conclusions in the

testimony of a causation expert who opines based on speculation and bald assumptions, and call

it expert opinion evidence. The Sixth Circuit has held that admitting such causation opinions is a

reversible error requiring remand for new trial—an outcome which would thwart the essential

purpose of the bellwether trial structure.

II.    CONCLUSION

       It is a matter of justice for Moving Defendants, but also of the practical administration of

these bellwether cases, that Rafalski’s opinions not be admitted as to Moving Defendants in CT3.

Rafalski disregarded the Court’s holding in CT1 about the permissible boundaries of his

opinions. Rafalski, on instructions from Plaintiffs’ counsel, used an indiscriminate, made-for-

litigation method to analyze Moving Defendants’ SOM systems, despite knowing from his own

professional experience he was failing to do the many important tasks he would have done when

acting as a DEA Diversion Inspector. Then, starting with the inadmissible legal conclusion that
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Moving Defendants violated their statutory and regulatory duties, Rafalski leapt to Plaintiffs’

desired causal conclusion that Moving Defendants’ opioids flooded the illicit markets in Lake

and Trumbull County, without doing anything to actually test this hypothesis.

       Rafalski’s opinions are inadmissible under binding Sixth Circuit precedent, and the Court

should exclude Rafalski’s opinions as to Moving Defendants.

Dated: August 27, 2021                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that the foregoing document was served via e-mail to

all counsel of record on August 27, 2021.


                                            /s/ Scott D. Livingston
